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                          DISTRICT COURT OF THE VIRGIN ISLANDS
                           DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )
                     v.                       )       Case No. 3:21-cr-0019
                                              )
ALFREDO BRUCE SMITH,                          )
                                              )
                     Defendant.               )
                                              )

                                          ORDER

       BEFORE THE COURT is Defendant Alfredo Bruce Smith’s (“Smith”) Motion to
Continue Trial and Set Motions Deadline—Unopposed, filed on November 10, 2021. (ECF No.
49.) For the reasons stated herein, the time to try this case is extended up to and including
May 9, 2022.
       This matter commenced on September 1, 2021, when the United States (the
“Government”) filed a complaint against Defendant Smith. Thereafter, on September 30,
2021, the Government filed a thirteen-count information against Smith, charging two counts
of sexual exploitation of a child; seven counts of coercion and enticement; one count of
transportation with intent to engage in criminal sexual activity; and three counts of
aggravated second degree rape, in violation of 18 U.S.C. §§ 2251(a), 2422(b), 2423(a), and
14 V.I.C. §§ 1701(a)(4) and 1700a(a). (ECF No. 28.)
       On October 4, 2021, the Government filed a motion to designate the case as complex,
representing that Defendant Smith’s Facebook account contained more than 3 million
kilobytes of data, including more than 1400 images and 314 videos, in addition to chats and
messages. (ECF No. 30.) Moreover, the five mobile phones the Government seized contain an
additional 58.4 million kilobytes including videos that indicate potentially dozens of minor
victims. The Government further states that the evidence obtained indicates conduct
spanning approximately thirteen (13) years.
       In light of the volume of evidence, the parties filed a joint motion to extend the
discovery deadline to December 31, 2021, to provide additional time to produce the
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evidence, analyze and separate the sensitive discovery per the requirements of 18 U.S.C. §
3509(m), and provide defense counsel time to defend against the charges. (ECF No. 47.) On
November 9, 2021, the Court granted the motion, extending the discovery deadline to
December 31, 2021, and approving the parties’ agreement with regard to the § 3509(m)
discovery. (ECF No. 48.)
        On November 10, 2021, Smith filed a waiver of Speedy Trial, moving the Court “to
extend the period of time within which this matter must be tried, up to and including March
1, 2022.” (ECF No. 50 at 1.) In support of the waiver, Smith cited the voluminous discovery,
as well as the additional time needed to prepare pretrial motions, conduct investigation as
needed, and adequately prepare for trial.
        On even date, Smith filed an unopposed motion to continue trial and set motions
deadline. (ECF No. 49.) In the motion, Smith argues that, due to the voluminous discovery,
the complexity resulting from the restrictions of 18 U.S.C. § 3509(m), and Smith’s
incarceration, “additional time is necessary to ensure that both counsel and Mr. Smith have
adequate time to review the discovery before researching and filing motions.” Id. at 2. As
such, Smith requests that the Court extend the motions deadline to March 1, 2022, and set a
trial date as appropriate.
        The Speedy Trial Act, 18 U.S.C. § 3161 et seq., requires that defendants be tried within
seventy days of indictment or filing of an information. Nevertheless, pursuant to 18 U.S.C. §
3161(h)(7), a Court may exclude a period of delay in computing the time within which the
trial of an offense must commence if the Court grants the continuance because failure to do
so “would deny counsel for the defendant or the attorney for the government the reasonable
time necessary for effective preparation, taking into account the exercise of due diligence.”
18 U.S.C. § 3161(h)(7)(B)(iv). Consistent with these concerns, the United States Court of
Appeals for the Third Circuit has recognized that “an ‘ends of justice’ continuance may in
appropriate circumstances be granted.” See United States v. Otero, 557 F. App’x 146, 150 (3d
Cir. 2014) (finding that the district court properly excluded from Speedy Trial computations
the delays caused by the parties’ requests for continuances “to allow sufficient time to
prepare due to the complexity of the case”).
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        While the Speedy Trial Act requires that Smith be tried within seventy days of an
indictment or filing of an information, the Court specifically finds that extending this period
would be in the best interest of justice. Here, the Court finds that an extension is necessary
to allow reasonable time for the parties to review the voluminous discovery and adequately
prepare for trial.
        Moreover, in response to the current conditions in the COVID-19 pandemic, the
undersigned, as Chief Judge of the District Court of the Virgin Islands, issued a general order
concerning operations of the Court on October 31, 2021, deeming the time period of
November 1, 2021 through November 30, 2021, to be “excluded time” under the Speedy Trial
Act for purposes of determining when a trial must commence pursuant to 18 U.S.C. §
3161(h)(7)(A).1 The Court hereby fully incorporates the findings from the Court’s Twenty-
Ninth Order Concerning Operations as fully stated herein.
        To date, the COVID-19 virus has claimed more than 759,000 lives in the United States
(84 of which have been in the U.S. Virgin Islands). COVID-19 continues to present an
unpredictable threat to public health and safety, as shown in the recent surge in COVID-19
cases both in the continental United States and the Virgin Islands. As such, the Court finds
that extending the period within which Defendant Smith may be tried under the Speedy Trial
Act is necessary for the protection and well-being of the Defendant, the jury, the prosecutors,
the witnesses, the Court’s personnel, and the general public at large.
        The premises considered, it is hereby
        ORDERED that Defendant Smith’s Motion to Continue Trial and Set Motions
Deadline—Unopposed, ECF No. 49, is GRANTED; it is further
        ORDERED that the time beginning from the date of this order granting an extension
through May 9, 2022, SHALL be excluded in computing the time within which the trial in this
matter must be initiated pursuant to 18 U.S.C. § 3161; it is further
        ORDERED that the parties SHALL file and serve a pre-trial brief no later than May 2,
2022, which shall include the following: (a) proposed list of witnesses; (b) proposed list of


1
 https://www.vid.uscourts.gov/sites/vid/files/general-ordes/Twenty-
Ninth%20Order%20Concerning%20Court%20Operations%20During%20COVID%20Outbreak.pdf
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exhibits; (c) estimated length of case-in-chief and case-in-defense; (d) proposed non-
standard voir dire questions; and (e) proposed non-standard jury instructions related to the
elements of the charges and defenses; it is further
        ORDERED that the parties shall provide the Clerk of Court with a USB Flash Drive
containing electronic versions of exhibits no later than May 4, 2022;2 and it is further
        ORDERED that the jury selection and trial in this matter SHALL commence promptly
at 9:00 a.m. on May 9, 2022, in St. Thomas Courtroom 1.



Dated: November 15, 2021                                    /s/ Robert A. Molloy
                                                            ROBERT A. MOLLOY
                                                            Chief Judge




2Counsel are advised to consult with Court technical staff to determine the proper format for saving electronic
versions of exhibits. The Government’s trial exhibits shall be labelled sequentially beginning with
Government’s Exhibit 1. Any trial exhibits the Defense intends to offer shall be labelled sequentially beginning
with Defense Exhibit A.
